Case 2:16-cv-03224-GW-AFI\/| Document 1-1 Filed 05/11/16 Page 1 of 19 Page |D #:6

EXHIBIT 1

Case 2:16-cv-03224-GW-AFI\/| Document 1-1 Filed 05/11/16 Page 2 of 19 Page |D #:7

 

. CT Corporation

TO: Talaya Kluttz
Synchrony Financial

Service of Process
Transmittal
04/13/2016

CT Log Number 528989955

332 Minnesota St Ste W600

Saint Paul, MN 55101-1535

RE: Process Served in California

FOR: Synchrony Bank (Domestic State: UT)

ENCLOSED ARE coPlES OF LEGAL PR°CESS RECE|VED BY THE STATUTORY AGENT OF Tl'lE ABOVE COMPANY AS FOLLOWS:

Trrl.E oF Ac'rloN=
nocumENT(s) sEnon=

COURTIAGENCY:

NATURE OF ACT|ON:

ON WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERV|CE:
JUR|SDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ArroRNEY(s) l sENoF.R(s)=

ACTION ITEMS:

TELEPHONE:

JEFFREY ADA|R, Pltf. vs. Synchrony Bank, th.
Complaint, Summons, Cover Sheet, Order

Los Angeles County - Superior Court - Hill Street, CA
Case # 16KD4058

Violation of Rosenthal Fair Debt Collection Practices Act

C T Corporation System, Los Angeles, CA

By Process Server on 04/ 1 3/ 2016 at 10:22

Califomia

Within 30 days after service (Document(s) may contain additional answer dates)

Todd M. Friedman

LAW OFFlCES OF TODD M. FR|EDMAN, P.C.
324 S. Beverly Dr., #725

Beverly Hills,, CA 90212

877-206-4741 .

SOP Papers with Transmittal, via Fed Ex 2 Day , 782831831906
|mage SOP
Email Notification, Talaya Kluttz talaya.l.kluttz@syf.com

Email Notification, Synchrony Financial Litigation
syf.litigation@synchronyfinancial.com

C T Corporation System
818 West Seventh Street
Los Angeles, CA 90017
213-337-4615

Page1of1/RM

information displayed on this transmittal is for C|'
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.

Case 2:16-cv-03224-GW-AFI\/| Document 1-1

summons comm
(CITACION JUDICIAL) "°‘°”“W°“Mmli
NOT|CE TO DEFENGANT:
(A V|SC A|. DEMANDAD°).'
SYNCHRONY BANK

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JEFFREY ADAIR

 

 

 

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Los Angcles, CA 90012 _ '
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Todd M. Friedman, 324 S. Beverly Dr., #725, Bevecly Hills, CA 90212, 877-206-_4741

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COPY

LAW OFFICES -OF TODD M. FRIEDMAN, P.C.
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Fax: 866-633-0228
tfriedman@toddflaw.com
abaeon@toddilaw.com
mgeorgc@toddflaw'.com
Attorneysfor Plaintzf

 

SUPERIOR COURT OF THE STATE OF CALlFORNIA
FOR THE COUNTY OF LOS ANGELES
LIMITED JURISDICTION

CASENOIBK04058

JEFFREY ADAm,

Plaintiff, .

l. Violation of Rosenthal Fair Debt
Collection Practices Act

2. Violation of Fair Credit Reporting
Act `

-vs-

SYNCHRONY'BANK,
Credit Repoxting Act
Defendant.
(Amount to cxcwd $10,000 but not
$25,000)

\JVVV`JVvV`/`IVVVV`/

JuRY TRI`AL DEMANDED

 

I. INTRODUCTION
' 1. This is an action for damages brought by an individual consumer for Defendant’d

violations of the Rosenthal Fair Debt Collection Pr'actices Act, Cal. Civ. Code §1788, et seq.
(hereinaiier “RFDCPA"), which prohibits debt collectors from engaging in abusive, deceptive,
and unfair practices, and for Defendant’s violations of the Fair Credit chorting Act, 15 U.S.C.
.'§1681 (hereinaher “FCRA”),-which regulates the collection, dissemination, and use of coch

Complalnt - l

3. Violation of the California Consumen

 

 

 

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Case 2:16-cv-03224-GW-AFI\/| Document 1-1 Filed 05/11/16 Page 5 of 19 Page |D #:10

l information, including consumer credit information, and the Califomia Consumer Credii
Reporting Agencies Act (hereinaiier “CCRAA”).
II. PARTIES
2. Plaintiff', Jeff`rey Adair (“Plaintitf”), is a natural person residing in Los Angeles
6 County in the state of California, and is a “debtor” as defined by Cal. Civ. Code §1788.2(h).
7 Plaintiff` is a “consumer” as defined by 15 U.S.C. §l681a.
3. At all relevant times herein, Defendant, SYNCHRONY BANK (“Defendant”)
was a company engaged, by use of the mails and telephone, in the business of collecting a debii

10

n from plaintiff which qualifies as a “consumer debt,” as defined by Cal. Civ. Code §1788.2(0.

 

12 Defendant regularly attempts to collect debts alleged to be due them, and therefore is a “deb
n collectox'i’ as defined by the RFDCPA, Cal. Civ. Code §l788.2(c). Further, Defendant regularl

provides information to consumer reporting agencies and is therefore an “information furnisher”
is

16 as defined by the FCRA.

l-, III. FACTUAL ALLEGATIONS
\3 4. At various and multiple times prior to the filing of the instant complaint, including
19 within the one year preceding the filing of this complaint, Defendant reported derogatory

2° information on Plaintiff’s credit report'. Defendant alleges that Plaintiff still owes a past due

21 balance

22 5. On or about January 23, 2014, Plaintiff` terminated his service with Defendant

23 However, Defendant erroneously marked Plaintiff’s account as charged off.

24 6. Qn June 17, 2015, Plaintiff` pulled his credit report and found that the Defenth
15 had incorrectly reported Plaintiff’s account to a credit reporting agency.

26 7. On the same day, lune 17, 2015, Plaintifi` sent a dispute letter to Defendant for the

27 account, requesting Defendant to inform all collection agencies that the alleged debt account was

18 in dispute.

Complaint - 2

 

 

 

 

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l 8. 0n July 20, 2015, Plaintiff pulled his credit report to verify that the debt alleged

2 by Defendant would appear as “disputed.” However, the credit report did not contain any

3 “disputed” note about Defendant’s alleged owed debt.

4 9. On August 24, 2015, Plaintiff’s counsel sent a notice of representation to

5 Defendant. Defendant was again asked to provide verification of Plaintiff’s alleged debt. To date
5 Defendant has failed to respond.

7 10. §1788.17 of the RFDCPA mandates that every debt collector collecting or

attempting to collect a consumer debt shall comply with the provisions of Sections 1692b to
1692j, inclusive, of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
United States Code statutory regulations contained within the FDCPA, 15 U.S.C. §1692d, and
12 §1692d(5).

'3 ll. Defendant’s conduct violated the RFDCPA in multiple ways, including but not

14
limited to:

15
' a) Falsely representing the character, arnount, or legal status of
" Piaimirrsdebt(§1692¢(2)(A)); '

17
b) Communicating or threatening to communicate credit information
18 which is known or which should be known to be false (§l692e(8));
and
19
20 c) Using false representations and deceptive practices in connection

with collection of an alleged debt from Plaintiff (§1692e(10).
21

22 12. Further, Defendant has been providing derogatory and inaccurate statements and

23 information relating to Plaintiff and Plaintiff’s credit history to various credit reporting agencies,

24 as that term is defined by 15 U.S.C. 1681a(f).

25 13. Defendant is aware that the credit reporting agencies to which they are providing

26 .

this information are going to disseminate this information to various other persons or parties who
21
n will be reviewing this information for the purpose of extending credit, insurance or employment

Complaint - 3

 

 

 

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1 14. As a result of Defendant’s inaccurate reporting of Plaintiff’s accounts, Plaintiff’s
credit score decreased. Plaintiff was negativer affected due to the derogatory items placed by
Defendant on Plaintiff’s credit report.

15. 'I'he inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s credili
s repayment history, Plaintiff’s financial responsibility as a debtor and Plaintift’s credit

7 worthincss.
16. 'l`he credit reports have been and continue to be disseminated to various persond

m and credit grantors, both known and unknown

n 17. Plaintiff has been damaged, and continues to be darnaged, in the

12 following ways:

13 a. Denial of credit by at least one lender;

b. Emotional distress and mental anguish associated with having incorrect
derogatory personal information transmitted about Plaintiff to other peopld

15 both known and unknown; and

c. Decreased credit score which may result in inability to obtain credit on fixture

attempts.

14

17
18. At all times pertinent hereto, Defendant was acting by and through its agents,

19 servants and/or employees who were acting within the course and scope of their agency or

10 employment, and under the direct supervision and control of Defendant herein.

21 19. At all times pertinent hereto, the conduct of Defendant, as well as that of its

22 agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

23
negligent disregard for federal and state laws and the rights of Plaintiffs herein.
24

25 20. Defendant violated sections l681n and 16810 of the FCRA by engaging in the

26 following conduct that violates 15 U.S.C. §1681s-2(b):

27 a. Willfully and negligently continuing to furnish and disseminate inaccurate and

28 derogatory credit, account and other information concerning the Plaintiff to

 

 

Complaint - 4

 

 

 

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1 credit reporting agencies and other entities despite knowing that said
information was inaccurate; and,

b. Willfully and negligently failing to comply with the requirements imposed on

3 fumishers of information pursuant to 15 U.S.C. §1681s~2.

4 21. Defendant’s conduct was a direct and proximate cause, as well as a substantial
factor, in causing the injuries, damages and harm to Plaintiff that are outlined more fully aboch
and as a result, Defendant is liable to compensate Plaintiff for the full amount of statutory,
actual and punitive damages, along with attomeys’ fees and costs, as well as such other relief
9 permitted by law.

'° 22. Further, Defendant failed to notify Plaintiff of their intention to report negative
11
information on their credit reports. Defendant then failed to correct and accurately report the
12
13 disputed information within thirty days of Plaintiff’s dispute of that information

14 23. As a result of the above violations of the RFDCPA, FCRA, and CCRAA Plaintili

 

15 suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,

16 embarrassment mental anguish and emotional distress, and Defendant is liable to Plaintiff foti

Plaintiff' s actual damages, statutory damages, and costs and attomey’s fees.
is
COUNT l: VIOLATION OF ROSENTHAL

FAIR DEBT COLLE§I:ION PRACTICES ACT
24. Plaintiff reincorporates by reference all of the preceding paragraphs

19
20

21

22 25. 'I`o the extent that Defendant’s actions, counted above, violated the RFDCPA,

23 those actions were done knowingly and willfully.

24 PRAYER FOR RELIEF
25 WHEREFORE, Plaintifi` respectfully prays that judgment be entered against the

26

27 Defendant for the following:

 

28 A. Actual damages;

Coinplaint - 5

 

 

 

Case 2:16-cv-03224-GW-AFI\/| Document 1-1 Filed 05/11/16 Page 9 of 19 Page |D #:14

1 B. Statutory damages for willful and negligent violations;

2 C. Costs and reasonable attomey’s fees; and
D. For such other and fllrther relief as may be just and proper.

3 couNT n= vroLATroN 0FTHE FAlR carsan REPogmG ACT
4 26. Plaintiif reincorporates by reference all of the preceding paragraphs.
5

27. To the extent that Defendant’s actions, counted above, violated the FCRA, those
6
7 actions were done knowingly and willfully.
8 PRAYER FOR RELIEF
9 WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

'° Defendant for the following

A. Actual damages;

12 B. Statutory damages for willful and negligent violations;
13 C. Costs and reasonable attomey’s fees; and .
D. For such other and further relief as may be just and proper.
'4 COUNT III: VIOLATIO§ OF THE CALIFORN[A CONSUMER CREDIT
'5 REPoRIING AGENClEs Ac'r
16 cal. clv. code §1785.2s(a)
17 28. Plaintiff incorporates the foregoing paragraphs as though the same were set forth
18 at length herein.
'9 29. california civil code § 1785.25 (a) states mar a "porson shall nor finish
20

information on a specific transaction or experience to any consumer credit reporting agency if[

21 ¢ c » l ‘ ll
the person knows or should know the information ls lncomplete or maccurate.

22 30. California Civil Code § 1785.25 (b) states that a firrnisher that determines a

23 report to a credit reporting agency is not accurate or complete shall promptly notify the
24 consumer reporting agency of that determination and provide corrections to the consumer
:: reporting agency that is necessary to make the information complete and accurate.

27 31. California Civil Code § 1785.25 (c) provides that if the completeness or accuracy
n of any information on a specific transaction or experience provided to a consumer reporting

agency is disputed by the consumer, the furnisher may not continue reporting the information

Complaint ~ 6

 

 

 

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1 unless it provides a notice to the consumer reporting agency that the information is disputed by
2 the consumer.

3 32. Defendant negligently and willfully furnished information to the credit reporting
agencies it knew or should have known was inaccurate.

33. Based on these violations of Civil Code § 1785.25 (a), Plaintiff is entitled to the
remedies afforded by Civil Code § 1785.31, including actual damages, attomey’s fees, pain and
suffering, injunctive relief, and punitive damages in an amount of not less than $lOO nor more
than $5,000, for each violation as the Court deems proper.

PRAYER FOR RELIEF
10

n WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

12 Defendant for the following:

13 A. Actual damages;

B Statutory damages for willful and negligent violations;

C. Costs and reasonable attomey’s fees; and,

D For such other and further relief as may be just and proper.

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20 Attomey for Plaintiff
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'Complaint ~ 7

 

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mW`Jeti'rey Adalr v. Synchrony Bank

 

 

 

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CIVlL CASE COVER SHEET ADDENDUM AND~
STATEMENT OF LOCAT|ON
(CERT|F|CATE OF GROUNDS FOR ASS|GNMENT TO CQURTHOUSE LOCATlON)

 

 

 

This form is mqulred pursuant to Looal Rule 2.3 iri all now civil case hinge in the Los Angeles Superio_r Court

 

item i. Check the types of hearing and fill in the estimated length of hearing expected for this case: _
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item |l. indicate the correct district and courthouse location (4 steps - lt you checked "leited Case", skip to item lli, Pg. 4):

Step 12 Aiier iiret completing the Civil Case Cover Sheet fontt. find the main Civil Case Cover Sheet heading for your
case in the left marg|n below. and, to the right in Column A, the Civil Case Cover Street case type you selected.

Step 2: Ch'eck¢mg Superior Court type ot action |ri Coiumn B below which best describes the nature of this cese.
Step 3: in Column C. circle the reason for the court location choice that applies to the type of action you have

checked. For any exception to the court location see Locai Rule 23.
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Jeffl'ey Adair v. Synchrony Bank CASE truman

 

 

 

 

item l|l. Statement of Location: Enter the address of the accidenf, party's residence or place of business, performance, or other
circumstance indicated in item ll., Sfep 3 on Page 1, as the proper reason for hling in the court location you selected.

 

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REAS¢||: check the appropriate boxes for the numbers shown 5317 S¢d,n A,,°
under Column C for the type of action matyeu have selected for
this coae.

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item lV. Declaration ofAssignment: l declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true
and correct and that the above-emitted matter is property tiled for assignment to the Stan|e¥ M°$k courthouse in the
C°m"a' District of the Superior Court of Califomia. County of Los Angeies [Code Civ. Prcc.. § 392 et seq.. and Locel

Rule 2.3, subd.(a).

Dared; March 30, 2016 /\ /

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PLEASE HAVE THE FOLLOW|NG lTEMS COMPLETED‘AND READY TO BE F|LED lN CRDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1 . Original Complaint or Petitien.

2 if filing a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet. Judicial Council form CiV|~010.

4

. C:i’\lril Case Cover Sheet Addendum and Statement of Location form, LAC|V 109, LASC Approved 03-04 (Rev.
0 15).

Payment in full of the filing fee, unless fees have been waived.

6. A signed order appointing the Guardian ad Litem. Judicial Counci| form ClV-010. if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

S-”

7. Additional copies ot documents to be ccnfonned by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

 

mch 109 (Rev 3115) ClVlL CASE COVER SHEET ADDENDUM Locel Rule 2.3
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Case 2:16-cv-03224-GW-AFI\/| Document 1-1 Filed 05/11/16 Page 16 of 19 Page |D #:21

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SUPERIOR COURT OF THE STATE OF CALlFORNIA
FOR THE COUNTY OF LOS ANGELES

In re Limited Civil Jurisdiction Cases Calendared
in Deparhnent 77 (Non - Coilectious Cases)

CmeNo.:16K040§8

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) 2“‘ AMENDED

) GENERAL o.RDER
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TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

Pursuant to the California Code ofCivil Procedure, the California Rulcs of Court, and the

FOLLOWING GENBRAL ORDERS THAT SHALL APPLY Tb ALL LIMITED CIVIL (NON-
COLLECTION) CASES FILED AND/OR HEARD IN DEPARTMENT 77.

I. PLAINTIFF(S) IS/ARE ORDERED TO SERVE A CQPY OF TH!S GENERAL

ORDER QN IHE DEEENDANT{S} WITH COPIES OF THE SUMMONS AND COMZLAINT

AND TO FILE PROOF OF SERV!CE, AS MANDATED lN TH'IS ORDER.
2. The Court sets the following trial date in this case in ~Department 77 (7"‘ tio_or,

Room 736) at the Stanley Mosk Courthousc, il 1 North Hill Street, Los Angeles, CA 90012:

v .

 

~ Dat'c: at 8:30 a.m.

 

 

 

Second Amended Generai Order - Page 1 of 4

 

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Case 2:16-cv-03224-GW-AFI\/| Document 1-1 Filed 05/11/16 Page 17 of 19 Page |D #:22

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SERVICE OF SUMMONS AND COMPLAINT

3. The trial date set forth above is conditioned on the defendant(s) being served with
the summons and complaint withig six (6) months of the filing ofthe complaint The trial date
may be continued to a later date if service is not accomplished within six months The parties
may stipulate to keep the original trial date even if service of the summons and complaint is not
completed within six months of the filing of the original complaint

4. The summons and complaint shall be served upon the defendant(s) within th_ree
m alter the complaint is filed in this action. (Code Civ. Proc., § 583.210, subd. (a).) Failure
to comply will result in dismissal, without prejudice, of the action, as to all unserved parties who
have not been dismissed as of that date. (Code Civ. P.roc., § 581, subd. (b)(4).) The dismissal as

to the unserved parties, without prejudice, for this case_ shall be effective on the following date:

 

UNSERVI_ED PARTIES DISMISSAL DATE

 

 

 

 

5. No Casc Management Review (CMR) and no Mandatory Settlement (MSC) or
Final Status Conferencea (FSC) will be conducted in this case.
LAW AND MOTION
6. All regularly noticed pretrial motions will be heard in Department 77 on
Mondays, 'I`uesdays, Wednesdays, and Thursdays at 8:30 a.m. A motion will be heard only if a

party reserves a hearing date by going to the coun’s website at www.lacourt.org and reserving it

Sacond Amended General Order - Page 2 of 4

 

 

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through the Court Reservation System (CRS). All motions should be filed in Room 102 of the
Stanley Mosk Courthouse.

7. Tentative Rulings may be posted on the Court’s intemet site no later than the day
prior to the hearing._ To access tentative rulings, parties may go to lacourt,org, select "Civil"
Division, and then click on “Tcntative Rulings.”

EX PARTE APPLICATIONS

8. Ex parte applications must be noticed for 1:30 p.m. in Department 77. All ex

parte application fees must be paid by 1100 p.m. in Room 102 of the Stanley Mosk Courthouse.
JURY FEES

9. The fees for a jury trial shall be due no later than 365 calendar days sher the filingi
of the initial complaint, or as otherwise provided by Code ofCivil Procedure section 631,
subdivisions (b) and (c).

STIPULATION TO CONTINUE TRIAL

10. A trial will be postponed if all attorneys of record and/or the parties who have
appeared in the action stipulate in writing to a specific continued date. If` the stipulation is filed
less than five (5) court days before the scheduled trial date, then a courtesy copy of the
stipulation must be filed in Department 77. A proposed order shall be lodged along with the
stipulation The Stipulation' and Order should be filed in Room 118 of the Stanley Mosk
Courthouse with the required filing fees.

TRIAL

l 1. Parties are to appear on the trial date ready to go to trial, and must meet and
confer on all pretrial matters at least 20 calendar days before the trial date. On the day of trial
the parties shall bring with them to Department 77 all of the following:

i. A printed Joint -Statement of the Case;

Second Amended Generel Ordar - Page 3 of 4

 

 

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Case 2:16-cv-03224-GW-AFI\/| Document 1-1 Filed 05/11/16 Page 19 of 19 Page |D #:24

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1 ii. Motions in Limine, which must be served and filed in accordance with the Local
Rules of the Los Angeles Superior Court (LASC) _s_e__e local rule 3.57;

iii. A printed loint Witness List disclosing an offer of proof regarding each

5 testimony, the time expected for testimony, and the need of an interpreter.

6 iv. .loint Exhibits in Exhibit Boolcs, numbered appropriately, and Exhibit List;

7 ' v. A printed Joint Proposed Jury lnstructions, and

vi. A printed Joint Proposed deict form(s).

w FAILURE TO PROV[DE ANY OF THE AFOREMENTIONED DOCUMENTS

11 ON THE TRIAL DATE MAY CAUSE A DELAY lN'THE CASE BEING ASSIGNED TO

12 A 'I'RIAL COURT.

13 GOOD CAUSE APPEARING THEREFORE, IT IS SO ORDERED.
14

:: DA'I'ED: é/Z '2 ZM_; ,¢/“M;/[]'

17 Hon. Kevin C. Brazile
Supervising Judge of Civil

 

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Second Amended General Order- Page 4 of 4

 

 

 

 

 

